AO 472 (Rev. 9/16) Order of Detention Pending Trial



                                                UNITED STATES DISTRICT COURT
                                                                      for the
                                                      Western District of North Carolina
                 UNITED STATES OF AMERICA                             )
                                        V.                            )
                                                                      )     Case No. 3:20−cr−00294−MOC−DSC
                               Bobby Cherry                           )
                                    Defendant                         )


                                              ORDER OF DETENTION PENDING TRIAL

                                                         Part I − Eligibility for Detention
         Upon the

                    Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
                    Motion of the Government or Court's own motion pursuant to 18 U.S.C. § 3142(f)(2),

   the Court held a detention hearing and found that detention is warranted. This Order sets forth the Court's findings of
   fact and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.


                                    Part II − Findings of Fact and Law as to Presumptions under § 3142(e)

          A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
          presumption that no condition or combination of conditions will reasonably assure the safety of any other person
          and the community because the following conditions have been met:
               (1) the Defendant is charged with with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
                        (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C. §
                        2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
                        (b) an offense for which the maximum sentence is life imprisonment or death; or
                        (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                        Controlled Substances Act (21 U.S.C. §§ 801−904), the Controlled Substances Import and Export Act
                        (21 U.S.C. §§ 951−971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501−70508); or
                        (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                        (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                        described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                        jurisdiction had existed, or a combination of such offenses; or
                        (e) any felony that is not otherwise a crime of violence but involves:
                           (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. §
                        921);
                           (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
               (2) the Defendant has previously been convicted of a Federal offense that is described in 18 U.S.C. §
                    3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving
                    rise to Federal jurisdiction had existed; and
               (3) the offense described in paragraph (2) above for which the Defendant has been convicted was committed
                    while the Defendant was on release pending trial for a Federal, State, or local offense; and
               (4) a period of not more than 5 years has elapsed since the date of conviction, or the release of the Defendant
                    from imprisonment, for the offense described in paragraph (2) above, whichever is later.




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          B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
          rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
          Defendant as required and the safety of the community because there is probable cause to believe that the
          Defendant committed one or more of the following offenses:
               (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                    Controlled Substances Act (21 U.S.C. §§ 801−904), the Controlled Substances Import and Export Act
                    (21 U.S.C. §§ 951−971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501−70508);
               (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
               (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
                    or more is prescribed;
               (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581−1597) for which a maximum term of
                    imprisonment of 20 years or more is prescribed; or
               (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,
                    2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260,
                    2421, 2422, 2423, or 2425.

          C. Conclusions Regarding Applicability of Any Presumption Established Above
                   the Defendant has not introduced sufficient evidence to rebut the presumption above.

                        OR

                        the Defendant has presented evidence sufficient to rebut the presumption, but after considering the
                        presumption and the other factors discussed below, detention is warranted.

          D. The Defendant Has Failed to Carry Defendant's Burden Under Rule 32.1(a)(6)
                   the Defendant was arrested for violating probation or supervised release. Under Rule 32.1 and 18 U.S.C.
                   § 3143(a)(1), the Defendant has not shown by clear and convincing evidence that the Defendant will not
                   flee or pose a danger to any other person or to the community.


                                         Part III − Analysis and Statement of the Reasons for Detention

        After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention
   hearing, the Court concludes that the Defendant must be detained pending trial because the Government has proven:
                      By clear and convincing evidence that no condition or combination of conditions of release will
                      reasonably assure the safety of any other person and the community.

                      By a preponderance of the evidence that no condition or combination of conditions of release will
                      reasonably assure the Defendant's appearance as required.




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   In addition to any findings made on the record at the hearing, the reasons for detention include the following:

                                                 Weight of evidence against the Defendant is strong
                                                 Subject to lengthy period of incarceration if convicted
                                                 Prior criminal history
                                                 Participation in criminal activity while on probation, parole, or supervision
                                                 History of violence or use of weapons
                                                 History of alcohol or substance abuse
                                                 Lack of stable employment
                                                 Lack of stable residence
                                                 Lack of financially responsible sureties
                                                 Lack of significant community or family ties to this District
                                                 Significant family or other ties outside the United States
                                                 Lack of legal status in the United States
                                                 Subject to removal or deportation after serving any period of incarceration
                                                 Prior failure to appear in court as ordered
                                                 Prior attempt(s) to evade law enforcement
                                                 Use of alias(es) or false documents
                                                 Background information unknown or unverified
                                                 Prior violations of probation, parole, or supervised release


   ADDITIONAL REASONS

   Defendant's prior criminal record includes armed robberies. He has a pending
   felony
   fleeing to elude case.



        The Defendant consents to detention.


                                                      Part IV − Directions Regarding Detention
   The Defendant is remanded to the custody of the Attorney General or to the Attorney General's designated representative
   for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
   being held in custody pending appeal. The Defendant must be afforded a reasonable opportunity for private consultation
   with defense counsel. On order of a Court of the United States or on request of an attorney for the Government, the
   person in charge of the corrections facility must deliver the Defendant to a United States Marshal for the purpose of an
   appearance in connection with a court proceeding.

                    October 6, 2020

                           Date




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